     Case 19-24216-JKS            Doc 33 Filed 11/07/19 Entered 11/07/19 09:30:15                     Desc OSC
                                   Pay Installment or Miscell Page 1 of 2
Form oscmlfee − oscmlfeev27

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 19−24216−JKS
                                         Chapter: 7
                                         Judge: John K. Sherwood

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Alice A. Jay
   aka Alice Ann Jaroszewsky
   108 Meyerville Road
   Chatham, NJ 07928
Social Security No.:
   xxx−xx−3732
Employer's Tax I.D. No.:


                              ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                               DISMISSED FOR FAILURE TO MAKE INSTALLMENT
                              PAYMENT(S) OR PAY MISCELLANEOUS FILING FEES

     The Court having noted that:

             An order directing the payment of filing fees in installments was entered in the above case, and that the
payment due on 11/05/19 in the amount of $ 85.25 has not been received by the Clerk,

             The debtor filed a on that requires the payment of a fee in the amount of $ , and that the fee has not
been received by the Clerk,

     It is hereby ORDERED that:

The debtor or debtor's attorney must appear at a hearing to be held before the Honorable John K. Sherwood on:

    Date: December 3, 2019
    Time: 10:00 AM
    Location: Courtroom 3D, Martin Luther King, Jr. Federal Building, 50 Walnut Street, Courtroom 3D, Newark,
NJ 07102

to show cause why the case should not be dismissed.

     If all required fees are filed with the Clerk before the hearing date, this Order to Show Cause will be vacated
and no appearance is required.

     Any motion or other objection that is filed will be considered a Motion for Extension of Time to File Schedules,
Statements, and Other Documents under Fed. R. Bankr. P. 1007(c), and will be scheduled by the court to be heard on
the same date and time as this Order to Show Cause.

     Unless all required fees are filed before the hearing date on this Order to Show Cause, you must appear at the
hearing. FAILURE TO APPEAR AT THE HEARING WILL RESULT IN DISMISSAL OF THE CASE.
    Case 19-24216-JKS     Doc 33 Filed 11/07/19 Entered 11/07/19 09:30:15   Desc OSC
                           Pay Installment or Miscell Page 2 of 2
Dated: November 7, 2019
JAN: dlr

                                        John K. Sherwood
                                        United States Bankruptcy Judge
